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          Case 1:17-cv-00616-JGK-SN Document 189 Filed 12/20/18 Page 1 of 3

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 SARAH RANSOME,

                 Plaintiff,                                   No. 17-Civ-00616 (JGK)

 V.

 JEFFREY EPSTEIN, GHISLAINE
 MAXWELL, SARAH KELLEN, LESLEY
 GROFF and NAT ALY A MAL YSHEV,

                 Defendants.


              AGREED FINAL ORDER OF DISMISSAL WITH PREJUDICE

         THIS CAUSE came before the Court upon the Stipulation of Dismissal With Prejudice

entered into by and among Plaintiff, Sarah Ransome, and Defendants, Jeffrey Epstein, Ghislaine

Maxwell, Sarah Kellen and Lesley Groff. [D.E I   Jf The Court, having reviewed the Stipulation,
hereby

         ORDERS AND ADJUDGES that each and every issue, claim, including all claims for all

fonns of damages, prejudgment interest, and costs, is hereby dismissed with prejudice, each party

to bear its own attorneys' fees and costs.

         DONE AND ORDERED in Chambers at New York, New York, thisQ(Q day o f ~
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2018.



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                                          i-11eu u.u-v,.,_v , -..~~ _ ~· _
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       Case 1:17-cv-00616-JGK-SN Document 189 Filed 12/20/18 Page 2 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



SARAH RANSOME,

               Plaintiff,                                     No. 17-Civ-00616 (JGK)

v.

JEFFREY EPSTEIN, GHISLAINE
MAXWELL, SARAH KELLEN, LESLEY
GROFF and NATALYA MALYSHEV,

               Defendants.
------~-~-- - - -- -· -----------
                   ST1PtTLATION OF DISMISSAL WITH PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED, by and among Plaintiff, Sarah Ransome,

and Defendants, Jeffrey Epstein, Ghislaine Maxwell, Sarah Kellen and Lesley Groff. pursuant to

Federal Rule of Civil Procedure 41, that each and every issue, claim, including all claims for all

fo1ms of damages, prejudgment interest, and costs be dismissed with prejudice, each party to bear

its own attorneys' fees, costs, and expenses. The parties hereby request the Court to enter the

attached Agreed Final Order of Dismissa1 With Prejudice.

DATED: December 20, 2018                        DATED: December 20, 2018

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                                                By. ____.....__ _ _ _ _ _ _ __
By:   . ·• _ _ _ _ _ ___,.___ __
    SCOTT J. LfNK, pro hac ke                       SIGRID MCCA .EY,pro hacvice
  / Counsel/or Defendants effrey Epstein,           MEREDITH SCHULTZ, pro hac vice
    Sarah Kellen and Lesley                         Counsel for PlaintfffSarah Ransome
  Case 1:17-cv-00616-JGK-SN Document 186 1-11ea   l.t.tt.u11.o   r-ctHc Lu,..,
   Case 1:17-cv-00616-JGK-SN Document 189 Filed 12/20/18 Page 3 of 3




DATED: December 20, 2018

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